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               IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

 UNITED STATES OF AMERICA                  §
                                           §
 VS.                                       §     CRIMINAL NO.      4:11-CR-096-Y
                                           §
 JOSE JUVENAL QUEZADA (44)                 §
 MIGUEL ESPARZA (53)                       §



                                ORDER ACCEPTING
                       REPORT AND RECOMMENDATION OF THE
                        UNITED STATES MAGISTRATE JUDGE
                        AND ADJUDGING DEFENDANT GUILTY

        After reviewing all relevant matters of record, including the

 respective Consents to Administration of Guilty Plea and Federal

 Rule    of   Criminal    Procedure      11    Allocution     by   United    States

 Magistrate Judge and the Report and Recommendation on Plea Before

 the United States Magistrate Judge, and no objections thereto

 having been filed by either defendant within fourteen (14) days of

 service in accordance with 28 U.S.C. § 636(b)(1), the undersigned

 district judge concludes that each report and recommendation of the

 magistrate judge on each plea of guilty is correct, and each is

 hereby accepted by the Court.           Accordingly, the Court accepts each

 plea of guilty, and each defendant is hereby adjudged guilty. Each

 defendant’s    sentence     will   be    imposed    in    accordance     with   the

 sentencing scheduling order previously issued as to each defendant.

        SIGNED January 25, 2012.


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                                               TERRY R. MEANS
                                               UNITED STATES DISTRICT JUDGE
